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AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                    Case No. 1:99-cr-47-SEB-KPF-1

                                                             ORDER ON MOTION FOR
 v.                                                          SENTENCE REDUCTION UNDER
                                                             18 U.S.C. § 3582(c)(1)(A)
 KITRUS BINION                                               (COMPASSIONATE RELEASE)


       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☒ GRANTED. The defendant's previously imposed sentence of imprisonment of 24 months is
reduced to time served as of Monday, October 5, 2020.

☒ OTHER: The Bureau of Prisons is ordered to release the defendant by 4:00 p.m. on Monday,
October 5, 2020. The defendant's USM Number is 03414-028.
IT IS SO ORDERED.
                                                     _______________________________
 Dated:    10/2/2020
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana




Distribution to counsel of record via CM/ECF
